Case
Case3:17-cv-00939-WHA
     3:17-cv-00939-WHA Document
                       Document589-21 Filed04/28/17
                                309-7 Filed 06/12/17 Page
                                                     Page11of
                                                            of10
                                                               10




                 EXHIBIT 7
   Case
   Case3:17-cv-00939-WHA
        3:17-cv-00939-WHA Document
                          Document589-21 Filed04/28/17
                                   309-7 Filed 06/12/17 Page
                                                        Page22of
                                                               of10
                                                                  10

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Ulllted States Patent [19]                                                               [11] Patent Number:                         5,825,054
Lee et al.                                                                               [45]    Date of Patent:                 Oct. 20, 1998

[54]     PLASTIC-MOLDED APPARATUS OFA                                                 63-187673(A)     8/1988    Japan .
         SEMICONDUCTOR LASER                                                           3-142886(A)     6/1991    Japan .

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[73] Assignee: Industrial Technology Research
               Institute, Hsinchu, TaiWan                                             [57]                      ABSTRACT
[21]     APPL No. 581,246                                                             A plastic-molded apparatus for a semiconductor laser is
                                                                                      disclosed, Which comprise: a ?rst lead having a broad end
[22]     Filed:          Dec- 29’ 1995                                                thereof serving as a mounting plate; a second lead located at
[51]     Int. Cl? ................................................... .. H01L 33/00   One Side Of the ?rst lead; a third lead leeeted at ether Side Of
[52]     US. Cl. ............................ .. 257/98; 257/99; 257/675;             the ?rst lead; a submount, disposed on a front end of the
                                                          257/676; 257/693            mounting plate, having a semiconductor laser chip disposed
[58]     Field of Search .............................. .. 257/98, 99, 678,           thereon. electrically connected to the eeccnd lead. and e
                                                 257/680, 676, 764, 693               monitor detector disposed on the mounting plate closely
                                                                                      adjacent to the submount, electrically connected to the third
[56]                        References Cited                                          lead, for receiving backward light from the semiconductor
                    U_S_ PATENT DOCUMENTS                                             laser chip; a plastic-molded header to ?x the ?rst lead, the
                                                                                      second lead and the third lead; and a transparent cap,
                                 gliaggcilirt        """"""""""         3358/9263‘;   adapted to the plastic-molded header, for sealing all com
       5:500:768      3/1996 Doggett et al. ....................... .. 359/652        Ponems including the laser Chip’ the monitor detector and
                                                                                      peripheral parts on the plastic-molded header.
               FOREIGN PATENT DOCUMENTS

62-131587(A)          6/1987      Japan .                                                            14 Claims, 5 Drawing Sheets




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 Case3:17-cv-00939-WHA
      3:17-cv-00939-WHA Document
                        Document589-21 Filed04/28/17
                                 309-7 Filed 06/12/17 Page
                                                      Page33of
                                                             of10
                                                                10


U.S. Patent         0a. 20, 1998      Sheet 1 of5         5,825,054




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 Case3:17-cv-00939-WHA
      3:17-cv-00939-WHA Document
                        Document589-21 Filed04/28/17
                                 309-7 Filed 06/12/17 Page
                                                      Page44of
                                                             of10
                                                                10


U.S. Patent           0a. 20, 1998    Sheet 2 of5         5,825,054

                              26     25

                                              21A’
                                             27




                               FIG. 30
                               26    25
                 23
                                               21A’

                 24                           27




                               FIG. 3b
 Case
 Case3:17-cv-00939-WHA
      3:17-cv-00939-WHA Document
                        Document589-21 Filed04/28/17
                                 309-7 Filed 06/12/17 Page
                                                      Page55of
                                                             of10
                                                                10


U.S. Patent         0a. 20, 1998      Sheet 3 of5         5,825,054
 Case
 Case3:17-cv-00939-WHA
      3:17-cv-00939-WHA Document
                        Document589-21 Filed04/28/17
                                 309-7 Filed 06/12/17 Page
                                                      Page66of
                                                             of10
                                                                10


U.S. Patent         0a. 20, 1998      Sheet 4 of5         5,825,054




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 Case
 Case3:17-cv-00939-WHA
      3:17-cv-00939-WHA Document
                        Document589-21 Filed04/28/17
                                 309-7 Filed 06/12/17 Page
                                                      Page77of
                                                             of10
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U.S. Patent          Oct. 20, 1998    Sheet 5 0f 5




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   Case3:17-cv-00939-WHA
        3:17-cv-00939-WHA Document
                          Document589-21 Filed04/28/17
                                   309-7 Filed 06/12/17 Page
                                                        Page88of
                                                               of10
                                                                  10


                                                         5,825,054
                              1                                                                     2
        PLASTIC-MOLDED APPARATUS OF A                                 invention is to provide a plastic-molded apparatus for a
            SEMICONDUCTOR LASER                                       semiconductor laser, Which forms plastic-molded header on
                                                                      the lead frame, instead of the conventional semiconductor
         BACKGROUND OF THE INVENTION                                  laser apparatus of the metal can type, to reduce the cost.
   1. Field of the Invention                                          Furthermore, a dark color plastic header may absorb back
  The present invention relates to a semiconductor laser              Ward light from the laser chip to prevent diffraction of the
apparatus, and more particularly relates to a plastic-molded          laser beam and the backWard light.
apparatus of a semiconductor laser.                                      Another object of the present invention is to provide a
  2. Description of Prior Art                                         plastic-molded apparatus of semiconductor laser, Which has
  Currently, the semiconductor laser apparatus has been
                                                                 10   good heat-dissipation since tWo heat-dissipation plates
Widely used as the light source for an optical pointer, a             extending from the mounting plate outside the semiconduc
bar-code reader or in an optical information processing               tor laser apparatus are employed to conduct heat to the
apparatus such as pickup head in compact disc players and             outside.
video disc or as a light source for optical communications              Still another object of the present invention is to provide
                                                                 15   a plastic-molded apparatus for a semiconductor laser, Which
apparatus.
  The difficulty of reducing the cost of conventional semi            has high light-coupling ef?ciency. The coupling process of
conductor laser apparatus, as compared With LED or other              the semiconductor laser and the focusing lens can be accom
semiconductor devices, is because of the expensive pack               plished before sealing all parts on the header Within a cap,
aging materials and components.                                       thus providing the semiconductor laser apparatus With high
                                                                      output poWer.
  The conventional semiconductor laser apparatus is of the
metal can type as shoWn in FIG. 1, in Which a silicon                    One aspect of the present invention is to use a plastic
submount 2 and a laser chip 3 are disposed on a gold-plated           molded cap to seal the semiconductor laser apparatus so that
stem 1 of about 1 pm in thickness, and its surface is further         the cost can be reduced and the manufacturing process is
covered With a cap 5 having a WindoW glass 4 coated With              suitable for mass production.
                                                                 25
an anti-re?ection ?lm. This cap 5 is ?lled With N2 gas during           To accomplish the above objects, in the present invention,
the sealing process.                                                  a header is made of plastic material and is formed on a lead
   In such conventional semiconductor laser apparatus, parts          frame including a plurality of triple-leads. The central lead
                                                                      of each triple-lead has a broad end Which serves as a
other than the laser chip, such as header and cap, are
expensive, making it dif?cult to achieve a desired loW cost           mounting plate. An arrangement mount is formed on the
product. Furthermore, since structurally the semiconductor            mounting plate, and then a laser chip and a monitor detector
                                                                      are disposed on the arrangement mount at the front end of
laser apparatus has a Wide-spread radiated beam, a lens
system for correcting the beam is necessary, and the entire           the lead frame. The cap can be formed by injection molding
optical pickup device for composing the optical system                transparent acrylic resin such as PC or PMMA and coating
becomes too expensive.                                           35   AR (anti-re?ection)-coated on both sides of the front end of
                                                                      the cap. Moreover, on the top (i.e., the front end) of the cap,
  To avoid the draWbacks of the prior art mentioned above,
                                                                      different kinds of lens, such as a spherical lens, aspherical
a semiconductor laser apparatus that is less expensive to             lens and Fresnel lens, can be formed for collimating and
fabricate is disclosed in US. Pat. No. 5,068,866. This
                                                                      focusing. Furthermore, regarding to the focus adjustment, a
semiconductor laser uses the ordinary plastic-sealed tech
                                                                      voltage is applied to the metal leads to excite the laser beam,
nique of LED technology to seal the semiconductor laser               and then the position of the cap With a lens system on its
apparatus. Referring to FIG. 2, in Which a laser chip 12 is           front end is shifted forWard and backWard to adjust the
directly disposed on the surface of a silicon submount 13,            focus, the joint of the cap and header is adheringly ?xed to
near the front tip of the upper surface of the support member         the bottom of cap and the ?ange of header after the focus is
11. The silicon submount 13 is ?tted to the support member
                                                                 45
                                                                      Well adjusted. In addition, the focus adjustment and optical
11. The laser chip 12, the silicon submount 13, and a                 poWer measurement can be made before the sealing process,
photodetector chip 14 are integrally sealed Within a trans
                                                                      thus improving the yield.
parent plastic resin 15. In addition, a lens can be directly
formed on the seal by the transparent plastic resin 15.                     BRIEF DESCRIPTION OF THE DRAWINGS
   The semiconductor laser apparatus mentioned above                    The folloWing detailed description, given by Way of
indeed reduces the cost since no expensive materials and              example and not intended to limit the invention solely to the
parts are required in the system. HoWever, this conventional          embodiments described herein, Will best be understood in
semiconductor laser apparatus suffers from some other prob            conjunction With the accompanying draWings in Which:
lems. For example, the heat-dissipation is inferior since all           FIG. 1 schematically illustrates a conventional semicon
parts of the semiconductor laser apparatus are integrally             ductor laser apparatus;
sealed Within and directly covered by transparent plastic        55
                                                                        FIG. 2 schematically illustrates another conventional
resin. This causes shortening of the operating lifetime of the        semiconductor laser apparatus;
semiconductor laser apparatus. Secondly, as a result of
                                                                        FIG. 3a is a diagram illustrating a preferred embodiment
structural limitations, only a single-sided lens can be formed
on the front end of the cap, and the focus length of the lens
                                                                      of the present invention;
cannot be adjusted. Therefore, the focusing of the semicon              FIG. 3b is another diagram illustrating the preferred
ductor laser apparatus is of poor quality. Thirdly, the re?ec         embodiment shoWn in FIG. 3a;
tivity comes from the refractive index of the sealing plastic           FIGS. 4a and 4b schematically illustrate the manners of
resm.
                                                                      combining the cap and the header in the preferred embodi
                                                                      ments of the present invention;
             SUMMARY OF THE INVENTION                            65     FIGS. 5a to Sc schematically illustrate the manners of
  Accordingly, to overcome the draWbacks of the prior-art             fabricating different kinds of lens on the cap of the preferred
semiconductor laser apparatus, the object of the present              embodiments according to the present invention; and
   Case
   Case3:17-cv-00939-WHA
        3:17-cv-00939-WHA Document
                          Document589-21 Filed04/28/17
                                   309-7 Filed 06/12/17 Page
                                                        Page99of
                                                               of10
                                                                  10


                                                        5,825,054
                             3                                                                      4
  FIGS. 6a to 66 illustrate one manufacturing process of the         formed on both sides of the front end of the cap to prevent
present invention.                                                   the laser beam from re?ecting.
   In all of the drawings, identical reference number repre             Next, a practical manufacturing process for the present
sents the same or similar component of the semiconductor             invention is explained. Referring to FIGS. 6a to 66, the
laser apparatus utiliZed for the description of the present          process comprises the steps of: a lead frame 30 as shoWn in
invention.                                                           FIG. 6a is ?rst put in an injection molding machine (not
             DETAILED DESCRIPTION OF THE                             shoWn in the draWings), and is mounted on a ?xed device 32
               PREFERRED EMBODIMENTS                                 of the injection molding machine; then, in FIG. 6b, an
  Referring to FIG. 3a, the plastic-molded apparatus of              injection molding piece 31 including a plurality of plastic
                                                                10   molded headers is formed on the lead frame 30; afterWard,
semiconductor laser of the present invention includes: a ?rst
lead 21A having a mounting plate 21A‘ Which is a broad end           as shoWn in FIG. 6c, metal connections 33 of the lead frame
of the ?rst lead 21A; a second lead 21B located at one side          30 as shoWn in FIG. 6b are cut off to isolate the electrical
of the ?rst lead 21A; a third lead 21C located at the other          connections betWeen the metal leads; thereafter, a laser chip
side of the ?rst lead 21A; a silicon submount 25 located in          and a monitor detector can be disposed on each mounting
                                                                15   plate 34, meanWhile, the laser chip and monitor detector are
the front end of the mounting plate 21A‘; a semiconductor
laser chip 26, disposed on the silicon submount 25, electri          respectively bonded to different leads by gold Wire; referring
cally connecting to the second lead 21B; a monitor detector          to FIG. 66, a voltage is applied to the metal leads 36 to excite
27, disposed on the mounting plate 21A‘ closely adjacent to          the laser beam, and then the position of a cap 35 With a lens
the silicon submount 25, electrically connecting to the third        system on its front end is shifted forWard and backWard to
lead 21C, for receiving backward light from the semicon              adjust the focus. The joint of the cap 35 and the header is
ductor laser chip 26; a plastic-molded header 22 to ?x the           adheringly ?xed to seal the cavity formed by the cap and the
three leads 21A, 21B and 21C; and a transparent cap 23,              header after the focus is Well adjusted. Then the product is
adapted to the plastic-molded header 22, for sealing all of          accomplished as shoWn in FIG. 3b after cutting off connect
the components on the plastic-molded header 22.                      ing portions of the injection molding piece 31.
                                                                25      As to the semiconductor laser apparatus having no lens
  Referring to FIG. 3b, the mounting plate 21A‘ further
includes tWo heat-dissipation plates 21A“. Therefore, heat           system formed on the cap, the cap may directly engaged
generated by the semiconductor laser chip can be radiated            With the header after bonding Wires betWeen the leads and
outside through the heat-dissipation plates 21A“ extending           the laser chip and the monitor detector, then cutting off the
from the mounting plate 21A‘. The tWo heat-dissipation               metal connections, curving the heat-dissipation plates. Thus,
plates can be curved as shoWn in FIG. 3a to be adapted to            a product as shoWn in FIG. 3a may be obtained.
the assembly of a semiconductor laser apparatus.                       What is claimed is:
   The manner of sealing the apparatus as shoWn in FIG. 3a             1. A plastic-molded apparatus for a semiconductor laser,
is to ?t the inner circumference of the cap 23 to the ?ange          comprising:
of the plastic-molded header 22. Then epoxy 24 is used to ?x           a ?rst lead having a broad end thereof serving as a
the contact surface and seal the cavity formed betWeen the                mounting plate;
cap 23 and the header 22. MeanWhile, the cavity is ?lled               a second lead locating at one side of the ?rst lead;
With N2 gas to avoid oxidiZing of the laser chip.                      a third lead locating at other side of the ?rst lead, the ?rst
   For the semiconductor laser apparatus Without a lens                   lead, the second lead and the third lead being essen
system to be provided on the front end of the cap 23, the                 tially planar;
manufacturing process can be simpli?ed since no focus                  a submount, disposed on a front end of the mounting
adjusting step is needed. Referring to FIG. 4a, the tenon and             plate, having a semiconductor laser chip disposed
mortise joint can be applied on the inner circumference 23A               thereon, electrically connecting to the second lead, and
of the cap 23 and the outer circumference 22A of the header.              a monitor detector disposed on the mounting plate and
That is, the tenon on the cap 23 is directly ?tted in the       45        adjacent to the submount, electrically connecting to the
mortise of the header 22 While sealing.                                   third lead, for receiving backWard light from the semi
   Referring to FIG. 4b, another manner of sealing the                    conductor laser chip;
semiconductor laser apparatus Without a lens system to be              a plastic-molded header to ?x the ?rst lead, the second
provided on the front end of the cap 23 is explained beloW.               lead and the third lead; and
A ?ange 23B is formed on the rear end of the cap 23, the               a transparent cap, corresponding to the plastic-molded
?ange 23B is thus ?xed on the header 22 by thermopressing                 header, for sealing all components on the plastic
the ?ange 23B thereon. HoWever, the above tWo methods                     molded header; and
can be used only on a semiconductor laser apparatus in                 at least one heat-dissipation plate, extending from the
Which focus adjustment is not necessary.                                  mounting plate outside of the semiconductor laser
   Referring to FIGS. 5a to Sc, for the semiconductor laser     55        apparatus, for conducting heat generated by the semi
apparatus to be provided With a lens system on the front end              conductor laser chip to outside of the plastic-molded
of the cap, it is much easier to form a desired lens system               apparatus.
directly on the front end of the cap. As shoWn in FIG. 5a,              2. Aplastic-molded apparatus for a semiconductor laser as
both the inner side and outer side can be formed With a              claimed in claim 1 Wherein both of inner and outer sides of
spherical or aspherical convex lens 23C. Another embodi              the transparent cap are ?at.
ment is as shoWn in FIG. 5b to form a spherical convex lens             3. Aplastic-molded apparatus for a semiconductor laser as
23C‘ on the inner side and a holographic ?lm 23C“ on the             claimed in claim 1 Wherein the inner side and the outer side
outer side of the front end of the cap 23. In addition, as           of the front end of the transparent cap are respectively
shoWn in FIG. 5c, still another manner is to form a Fresnel          formed With a lens and a holographic ?lm.
lens 23C‘" on one side of the front end of the cap 23.      65          4. Aplastic-molded apparatus for a semiconductor laser as
   Furthermore, no matter Whether is a lens system formed            claimed in claim 1 Wherein the front end of the transparent
on the cap or not, an AR (anti-re?ection) coating can be       cap is formed as a Fresnel lens.
  Case
  Case3:17-cv-00939-WHA
       3:17-cv-00939-WHA Document
                         Document589-21 Filed04/28/17
                                  309-7 Filed 06/12/17 Page
                                                       Page10
                                                            10of
                                                              of10
                                                                 10


                                                       5,825,054
                             5                                                                   6
  5. Aplastic-molded apparatus for a semiconductor laser as           9. Aplastic-molded apparatus for a semiconductor laser as
claimed in claim 1 wherein a contact surface of the trans           claimed in claim 1 Wherein the front end of the transparent
parent cap and the plastic-molded header is mortise and             cap is formed as a lens.
tenon joint.                                                           10. Aplastic-molded apparatus for a semiconductor laser
  6. Aplastic-molded apparatus for a semiconductor laser as         as claimed in claim 1 Wherein the front end of the transpar
claimed in claim 1 Wherein the transparent cap has a ?ange          ent cap is formed as a tWo-sided lens.
around the bottom thereof for sealing the transparent cap by           11. A plastic-molded apparatus for a semiconductor laser
thermally pressing the ?ange.                                       as claimed in claim 9 Wherein the lens is a spherical lens.
  7. Aplastic-molded apparatus for a semiconductor laser as           12. Aplastic-molded apparatus for a semiconductor laser
claimed in claim 1 Wherein the plastic-molded header is        1O   as claimed in claim 9 Wherein the lens is a ball lens.
light-absorbing.                                                      13. Aplastic-molded apparatus for a semiconductor laser
  8. Aplastic-molded apparatus for a semiconductor laser as         as claimed in claim 10 Wherein the lens is a spherical lens.
claimed in claim 1 Wherein the transparent cap and the                14. Aplastic-molded apparatus for a semiconductor laser
plastic-molded header are ?xedly adhered by epoXy resin             as claimed in claim 10 Wherein the lens is a ball lens.
after focusing When the transparent cap has a light con        15
verged component formed thereon.
